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 2   1007 7th Street, Suite 319
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 3   Telephone: (916) 442-5230
 4   Attorney for:
     ISRAEL BALLARDO
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )         NO.   2:10-cr-00078 MCE
                                   )
11                   Plaintiff,    )         STIPULATION AND ORDER CONTINUING
                                   )         STATUS CONFERENCE
12        v.                       )
                                   )
13   ISRAEL BALLARDO               )
     aka Ernesto Franco Alvarez,   )         DATE:     December 9, 2010
14        and                      )         TIME:     9:00 a.m.
     FREDDY LOAIZA                 )         COURT:    Hon. Morrison England, Jr.
15                                 )
                     Defendants.   )
16   ______________________________)
17
                                       Stipulation
18
             The parties, through undersigned counsel, stipulate that the
19
     status conference, scheduled for December 9, 2010, may be continued to
20
     February 3, 2011, at 9:00 a.m.         The defense is reviewing discovery,
21
     investigation is ongoing and it is expected that parties will be
22
     negotiating a settlement.        As a result, the defense needs additional
23
     time before a meaningful status conference can be held.             The parties
24
     also agree that time may be excluded from the speedy trial calculation
25
     under the Speedy Trial Act for counsel preparation, pursuant to 18
26
     U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
27
     / / /
28

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 1        The parties have authorized the defense counsel for Israel
 2   Ballardo to sign this stipulation on their behalf.
 3
 4   DATED: December 3, 2010                    BENJAMIN WAGNER
                                                United States Attorney
 5
 6                                     by       /s/ Scott N. Cameron, for
                                                Jill Thomas
 7                                              Assistant U.S. Attorney
 8
     DATED: December 3, 2010
 9                                     by       /s/ Scott N. Cameron
                                                Scott N. Cameron
10                                              Counsel for ISRAEL BALLARDO
11
     DATED: December 3, 2010
12                                     by       /s/ Scott N. Cameron, for
                                                Dina Santos
13                                              Counsel for FREDDY LOAIZA
14
15                                      Order
16        Good cause appearing,
17        The   status   conference,   scheduled     for   December   9,   2010,   is
18   continued to February 3, 2011, at 9:00 a.m.
19        Time is excluded from the speedy trial calculation pursuant to 18
20   U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel preparation.
21        IT IS SO ORDERED.
22
     Dated: December 7, 2010
23
24                                      _____________________________
25                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
26
27
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